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                 EXHIBIT C
          Case 3:24-cv-00224-LS Document 1-3 Filed 07/01/24 Page 2 of 5
                                                                         CT Corporation
                                                          Service of Process Notification
                                                                                                                  06/04/2024
                                                                                                     CT Log Number 546574922


Service of Process Transmittal Summary

TO:       MARK SPROAT
          Follett Corporation
          3 Westbrook Corporate Ctr Ste 200
          Westchester, IL 60154-5728

RE:       Process Served in Texas

FOR:      FOLLETT HIGHER EDUCATION GROUP, LLC (Domestic State: IL)


ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        Re: LETICIA WHITE // To: FOLLETT HIGHER EDUCATION GROUP, LLC

CASE #:                                 2024DCV2562

NATURE OF ACTION:                       Employee Litigation - Discrimination

PROCESS SERVED ON:                      C T Corporation System, Dallas, TX

DATE/METHOD OF SERVICE:                 By Traceable Mail on 06/04/2024

JURISDICTION SERVED:                    Texas

ACTION ITEMS:                           CT will retain the current log

                                        Image SOP

                                        Email Notification, MARK SPROAT msproat@follett.com

                                        Email Notification, Felisha Phillips fphillips@follett.com

                                        Email Notification, SUHAIB GHAZI sghazi@follett.com

                                        Email Notification, Moira Forret mforret@follett.com

                                        Email Notification, Elizabeth Edelstein eedelstein@follett.com

                                        Email Notification, Enrique Salgado esalgado@follett.com

REGISTERED AGENT CONTACT:               C T Corporation System
                                        1999 Bryan Street
                                        Suite 900
                                        Dallas, TX 75201
                                        866-401-8252
                                        LargeCorporationTeam@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




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          Process Service                                                                                 F
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             Ave. Ste. 210                                                                                  rtZF979:7
1444 Montana
           Texas 79902                                                  UN?ItDS7E7fl
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   El Paso,                                                            POSTAL SEA CEe


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                                      CT Corporation System
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RETURN RECEIPT                        Dallas, TX 75201
  REQUESTED
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                                  7S20t-4294F-Y9
                    Case 3:24-cv-00224-LS Document 1-3 Filed 07/01/24 Page 4 of 5



                                                 THE STATE OF TEXAS
          NOTICE TO DEFENDANT:"You have been sued. You may employ an attorney. If you or your attorney do not file
a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration of
twenty days after you were served this citation and petition, a default judgment may be taken against you. In addition to
filing a written answer with the clerk, you may be required to make initial disclosures to the other parties of this suit. These
disclosures generally must be made no later than 30 days after you file your answer with the clerk. Find out more at
TexasLawHelp.org."

TO: FOLLETT HIGHER EDUCATION GROUP, LLC, which may be served with process by serving its registered agent,
CT CORPORATION SYSTEM, 1999 BRYAN STREET,SUITE 900, DALLAS, TX 75201

Greetings:
          You are hereby commanded to appear by filing a written answer to the Plaintiffs Original Petition at or before ten
o'clock A.M. of the Monday next after the expiration of twenty days after the date of service of this citation before the
Honorable County Court at Law Number 3, El Paso County, Texas, at the Court House of said County in El Paso,
Texas.
          Said Plaintiff's Petition was filed in said court on 05/28/2024, by Attorney at Law, JOHN A. VVENKE, 501 E.
CALIFORNIA AVENUE, EL PASO, TX 79902 in this case numbered 2024DCV2562 on the docket of said court, and
styled:

                                                     LETICIA WHITE
                                                          VS.
                                          FOLLETT HIGHER EDUCATION GROUP, LLC

       The nature of Plaintiffs demand is fully shown by a true and correct copy of the Plaintiff's Original Petition
accompanying this citation and made a part hereof.

         The officer executing this writ shall promptly serve the same according to requirements of law, and the mandates
thereof, and make due return as the law directs.

          Issued and given under my hand and seal of said Court at El Paso, Texas, this on this the 29th day of May, 2024

Attest: NORMA FAVELA BARCELEAU, District Clerk, El Paso County, Texas.

                          CLERK OF THE COURT
                   NORMA FAVELA BARCELEAU
                              District Clerk                                                                      , Deputy
                  Enrique Moreno County Courthouse                                      JoAnn Acosta
                   500 E. San Antonio Ave, RM 103
                         El Paso Texas, 79901
                                                                         CERTIFICATE OF DELIVERY BY MAIL
                                 ATTACH
                          RETURN RECEIPTS                           I hereby certify that on the 3P--
                                                                                                    :
                                                                                                    4 day of
                                   WITH
                                                                                 , 2024, at 4.0010 I mailed to
                       ADDRESSEE'S SIGNATURE
          Rule 106 (a)(2) the citation shall be served by mailing       tkC-1-  5hei       urAchssn
          to the defendant by Certified Mail Return receipt
          requested, a true copy of the citation.                   defendant(s) by registered mail or certified mail with
          Sec. 17.027 Rules of Civil Practice and Remedies          delivery fastfieteel to addressee only, return receipt
          Code if not prepared by Clerk of Court.
                                                                    requested, a true copy of this citation with a copy of
                                                                    the Plaintiffs Original Petition attached thereto.
                                                tyke
                    t-PriaGAT.t.210                      TITLE
      *NAME °4UaPi
      -          tita                                                         12- Cervan-l-es
          ADDRESS      El Paso, Texas 79902
          CITY                          STATE              ZIP                               TITLE
                   Case 3:24-cv-00224-LS Document 1-3 Filed 07/01/24 Page 5 of 5


                                                 RETURN OF SERVICE


Delivery was completed on                                    , delivered to
                                                                  as evidence by Domestic Return Receipt PS Form 3811
attached hereto.
        The described documents were not delivered to the named recipient. The certified mail envelope was returned
undelivered marked
        This forwarding address was provided*




                                                                      El Paso County, Texas
                                                           By:
                                                                       Deputy District Clerk
                                                                                OR

                                                                  Name of Authorized Person

                                                           By:




                                      VERIFICATION BY AUTHORIZED PERSON

State of Texas
County of El Paso
        Before me, a notary public, on this day personally appeared                         , known to me to be the person
whose name is subscribed to the foregoing Return of Service, and being by me first duly sworn, declared, "I am
disinterested party qualified to make an oath of that fact and statements contained in the Return of Service and true and
correct."


                                                                              Subscribed and sworn to be on this       day
                                                                              of




                                                                              Notary Public, State of
                                                                              My commission expires:
